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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                         Case No. 5:22-cv-04325 EJD
                                                          Plaintiff,
                                   8
                                                                                           JUDGMENT
                                                  v.
                                   9

                                  10     META PLATFORMS INC., et al.,
                                                          Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           On January 31, 2023, the Court denied Plaintiff’s motion for preliminary injunction pursuant

                                  14   to Section 13(b) of the Federal Trade Commission Act, resolving the only relief sought in the

                                  15   Complaint. ECF No. 546. Pursuant to Federal Rule of Civil Procedure 58, the Court hereby

                                  16   ENTERS judgment in favor of Defendant and against Plaintiff. The Clerk of Court shall close the

                                  17   file in this matter.

                                  18           IT IS SO ORDERED.

                                  19   Dated: December 13, 2023

                                  20                                                   ______________________________________
                                                                                       EDWARD J. DAVILA
                                  21                                                   United States District Judge
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